         Case 1:19-cv-03599-GMH Document 16 Filed 06/24/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    AMIRENTEZAM et al,

                                    Plaintiffs,

                          vs.                        Case Number:       1:19-cv-02066-EGS

    The Islamic Republic of Iran et al.;

                                   Defendants.




                                           STATUS REPORT

       As of the date of this Status Report, Plaintiffs are finalizing supporting documentation and

affidavits from witnesses to be used in their Motion for Default Judgment. Plaintiffs are planning

to file the Motion for Default Judgment no later than Friday, August 13, 2021.

       Plaintiffs ask that this Court to schedule a status hearing in the month of July to inquire

about a specific instruction from this Chamber before submitting the Motion for Default Judgment.



Submitted this 24st day of June, 2021.



                                                     _______/s/___________________
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